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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 FEDERAL TRADE COMMISSION,

                        Plaintiff,

 v.                                                   Case No: 6:18-cv-862-Orl-37DCI

 MOBE LTD.,
 MOBEPROCESSING.COM, INC.,
 TRANSACTION MANAGEMENT
 USA, INC., MOBETRAINING.COM,
 INC., 9336-0311 QUEBEC INC.,
 MOBE PRO LIMITED, MOBE INC.,
 MOBE ONLINE LTD., MATT
 LLOYD PUBLISHING.COM PTY
 LTD., MATTHEW LLOYD
 MCPHEE, SUSAN ZANGHI and
 RUSSELL W. WHITNEY, JR. ,

                  Defendants.
 ___________________________________

                                     ENTRY OF DEFAULT

        Pursuant to Fed.R.Civ.P. 55(a), default is entered against the defendant MATTHEW

 LLOYD MCPHEE in Orlando, Florida on the 1st day of February, 2019.



                                          ELIZABETH M. WARREN, CLERK


                                          s/B. Acevedo, Deputy Clerk


 Copies furnished to:

 Counsel of Record
